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                        EXHIBIT B
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     SUMMER FLASH SALE - UP TO 50% OFF 3-MONTH PLANS GET STARTED (HTTPS://KEEPS.COM/PLAN-SELECTION)




      (/)
                                       Thirty Madison Online Privacy Policy

               State                    Privacy                Law                    Addendum
               (https://patient.thirtymadison.com/dashboard/legals/state-privacy-law)


               Last Updated: May 13, 2024

               1. INTRODUCTION

               Thirty Madison, Inc., d/b/a Cove, Keeps, and Facet (collectively “Thirty Madison”),
               and its subsidiaries and affiliates, understand the importance of your privacy and
               protecting your personal information. Accordingly, the purpose of this Privacy
               Policy (the “Policy”) is to describe how Thirty Madison collects, uses, and shares
               information about you to provide services to you (our “Service”) through our
               websites, social media, email exchanges, mobile apps, and other online services on
               which this Policy is posted. This Policy also describes how you can access, change,
               and remove your personal information. Please read this Policy carefully to
               understand what we do. If you do not understand or agree to any aspect of our
               Policy, please contact us before continuing to use our Service. This Policy is written
               in the English language. We do not guarantee the accuracy of any translated
               versions of this Policy. To the extent that any translated versions of this Policy
               conflict with the English language version, the English language version of this Policy
               shall control.


               Nurx Inc. is also a part of the Thirty Madison family of brands. Nurx’s Privacy Policy
               can         be         found          at:       https://www.nurx.com/privacy-policy
               (https://www.nurx.com/privacy-policy).


               Thirty Madison also manages medical groups that provide treatment to Thirty
               Madison customers and pharmacies that fill prescriptions for Thirty Madison
               customers. When Thirty Madison handles protected health information (“PHI”) on
               behalf of the medical groups and the pharmacies, Thirty Madison follows the



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               medical group Notice of Privacy Practices and not this Policy. The medical group
               Notice of Privacy Practices, can be found at: http://keeps.com/legal/kmg-privacy
               (/legal/kmg-privacy).


               2. COLLECTION OF PERSONAL INFORMATION

               Information You Provide to Us. We collect information you provide to us when you
               create or modify your account, register to use our websites (including,
               https://www.withcove.com/                             (https://www.withcove.com/),
               https://www.keeps.com/ (https://www.keeps.com/), http://www.facetcare.com
               (http://www.facetcare.com), (collectively, with our mobile application(s), the “Site”),
               purchase products or services from us, post comments or reviews on our Site,
               request information from us, contact customer support, or otherwise communicate
               with us.


               Information We Obtain Indirectly. We may receive certain information about you
               through companies that provide us with such information as part of their
               relationship with us, including Meta, Google Analytics, Google Ads, Hotjar, Hubspot,
               Microsoft Bing Ads, Mixpanel, Stripe, and other third party tools. We may also
               receive information about you from your social media accounts if you use those
               accounts to sign-in to your account with us.

               Information We Collect Automatically. When you use our Service, we collect certain
               information about you automatically through our use of cookies and similar
               technologies. These are described in more detail below.

               Aggregate Information. We may combine information we receive from other sources
               with information you give to us and information we collect about you. Depending on
               the types of information received, we will use the information received from other
               sources or the combined information for the purposes described in this Policy.


               3. CATEGORIES OF PERSONAL INFORMATION AND PURPOSE FOR COLLECTION

               Thirty Madison only collects and processes the minimum amount of personal
               information from you necessary for our information processing activities, which
               includes the following categories of personal information: (1) contact information,
               including your name, address, email address, mailing address, postal address, and
               telephone number; (2) authentication information, including the user name and
               hashed password that you use to register an account on the Site; (3) financial
               information, which may include your debit or credit card number, its expiration

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               date, and its security code for payment processing purposes; (4) personal
               characteristics, including date of birth, photographs of your ID and insurance card,
               general medical history, and other information relevant to diagnosis and treatment;
               (5) comments, reviews, and suggestions; (6) personal preferences, including product
               preferences, online preferences, and interests; (7) online behavior information
               including details of your visits to our Site, online activity, time spent viewing
               features, traffic data, location data, logs, language, date and time of access,
               frequency, and other communication data and the resources that you access and
               use on the Site; (8) and operating system, host domain, browser type, IP address,
               mobile network information, or device information. Our information processing
               activities include: conducting our business; customer communications and support;
               user verification; payment processing; shipping; quality management services; Site
               maintenance and improvements; designing, developing, and communicating with
               you about our features, products, and services; any purpose where you have given
               your consent (where legally required); enforcing our legal rights or subject to any
               consents or authorizations that are required by applicable law, including those of
               our subsidiaries, affiliates, etc. and any of their related businesses and those of our
               third-party partners; and complying with legal requirements. Where applicable, if
               Thirty Madison intends to further process your personal information for any other
               purpose, we will provide you with any relevant information on such additional
               purpose and obtain your consent, to the extent required by applicable law.


               4. DISCLOSURE OF PERSONAL INFORMATION

               Thirty Madison does not trade, rent, or sell your personal information to third
               parties. We may share or disclose de-identified information for any purpose
               without restriction and may share or disclose your personal information for the
               following limited purposes.


               Healthcare Providers. We share your personal information with health care
               providers, including without limitation, clinicians, health care facilities and
               organizations, pharmacies, and laboratories. Health care providers will follow a
               separate Notice of Privacy Practices in how they use and disclose your personal
               information.

               Vendors and Services Providers. We may provide information to third party vendors
               and service providers that perform services and functions on our behalf, such as to
               help us operate and manage our Service and the Site, process orders, and fulfill
               and deliver products and services that you purchase from us. These vendors and
               service providers may have access to your personal information in order to provide

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               these services to us, but when this occurs, we implement contractual protections
               to limit their use of that information to help us provide our Service and support our
               interactions with you.

               Your Consent to Have Your Personal Information Shared. We may also share
               personal information with companies, organizations, or individuals outside of Thirty
               Madison when we have your consent to do so.

               Legal Disclosure. We will share personal information with third party companies,
               organizations, or individuals outside of Thirty Madison: (1) when we believe in good
               faith that access, use, or disclosure of the information is reasonably necessary to
               comply with a legal obligation; (2) when we believe in good faith that the law
               requires it; (3) at the request of governmental authorities conducting an
               investigation; (4) to verify or enforce our agreements, terms of use, or other
               applicable policies; (5) to respond to an emergency; or (6) otherwise to protect the
               rights, property, safety, or security of Thirty Madison, third parties, visitors to our
               Site, or the public, as required or permitted by law.

               Transfer in the Event of Sale or Change of Control. If the ownership of all or
               substantially all of our business changes, or we otherwise transfer assets relating to
               our business or the Site to a third party, such as by merger, acquisition, bankruptcy
               proceeding, or otherwise, we may transfer personal information to the new owner.
               In such a case, unless prohibited by applicable law, your information would remain
               subject to the privacy policy applicable at the time of such transfer, unless you
               discontinue use of our Service. We will inform you of any such changes in
               ownership.

               5. ACCESS TO YOUR INFORMATION AND CHOICES


               Contact Us. You can access and update certain information we have relating to your
               online account by signing into your account and going to the Account section of
               our Site. If you have questions about personal information we have about you or
               need to update your information, you can contact us at,

                          Cove: Phone (877) 456-2683; Email care@withcove.com
                      (mailto:care@withcove.com)
                          Keeps: Phone (833) 745-3377; Email help@keeps.com (mailto:help@keeps.com)
                          Facet: Phone (855) 658-8855; Email help@facetcare.com
                      (mailto:help@facetcare.com)



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               Social Media Account Sign On. To the extent that you choose to use a social media
               account application (such as Google, Facebook, or Apple) to create your online
               account on the Site or otherwise sign into the Site, you understand that if another
               person has access to your social media account, they will also have access to your
               account on the Site. That means that other person could access any personal
               information contained on the Site. It is your decision about whether to give another
               person access to your social media account and whether to use that account to
               sign on to the Site. Also, if you use a social media account application to sign into
               the Site, you understand that the social media account application may send
               information from your social media account to Thirty Madison.

               6. SECURITY OF YOUR INFORMATION

               We have taken steps and implemented administrative, technical, and physical
               safeguards designed to protect against the risk of accidental, intentional, unlawful,
               or unauthorized access, alteration, destruction, disclosure, or use. The Internet is
               not 100% secure and we cannot guarantee the security of information transmitted
               through the Internet. Thirty Madison cannot promise or guarantee that hackers,
               cybercriminals, or other unauthorized third parties will not be able to defeat our
               security, and improperly collect, access, steal, or modify your personal information.
               Where you have been given or you have chosen a password, it is your responsibility
               to keep this password confidential.

               The sharing and disclosing of information via the internet is not completely secure.
               We strive to use best practices and industry standard security measures and tools
               to protect your data. However, we cannot guarantee the security of Personal
               Information transmitted to, on, or through our Services. Any transmission of
               Personal Information is at your own risk. We are not responsible for the
               circumvention of any privacy settings or security measures contained on our Site, in
               your operating system, or mobile device. Accordingly, it is your responsibility to
               protect the security of your login information, including your username and
               password.


               7. COOKIES AND OTHER TECHNOLOGIES

               We also collect information automatically as you navigate through our Site. We use
               the following technologies to automatically collect data:

                          Cookies. We and our service providers (e.g. sub-contractors, analytics
                      providers, advertising networks, etc.) may use cookies, web beacons, and other

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                      technologies to receive and store certain types of information whenever you
                      interact with our Site or Service through your computer or mobile device. A
                      “cookie” is a small file or piece of data sent from a website and stored on the hard
                      drive of your computer or mobile device. Some of the cookies we use are
                      “session” cookies meaning that they are automatically deleted from your hard drive
                      after you close your browser at the end of your session. Session cookies are used
                      to optimize performance of the Site and to limit the amount of redundant data
                      that is downloaded during a single session. We also may use “persistent” cookies,
                      which remain on your computer or device unless deleted by you (or by your
                      browser settings). We may use persistent cookies for various purposes, such as
                      statistical analysis of performance to ensure the ongoing quality of our Site and/or
                      Service. We and third parties may use session and persistent cookies for analytics
                      and advertising purposes, as described herein. On your computer, you may refuse
                      to accept browser cookies by activating the appropriate setting on your browser,
                      and you may have similar capabilities on your mobile device in the preferences for
                      your operating system or browser. However, if you select this setting you may be
                      unable to access or use certain parts of our Site or our Service. Unless you have
                      adjusted your browser or operating system setting so that it will refuse cookies, our
                      system will issue cookies when you direct your browser to our Site.

                         Meta Platforms. We use Meta Platforms (including, Facebook and Instagram)
                      (collectively, “Meta”), a web analytics and advertising service provided by Meta on
                      our website. With its help, we and our customers can keep track of what users do
                      after they see or click on a Meta advertisement, keep track of users who access
                      our website or advertisements from different devices, and better provide
                      advertisements to our target audiences. The data from Meta is also saved and
                      processed by Meta. Meta can connect this data with your Facebook or Instagram
                      account and use it for its own and others advertising purposes, in accordance with
                      Meta’s Data Policy which can be found at,
                      https://www.facebook.com/about/privacy/
                      (https://www.facebook.com/about/privacy/). Please click here if you would like to
                      withdraw your consent for use of your data with Meta
                      https://www.facebook.com/settings/?tab=ads#_=_
                      (https://www.facebook.com/settings/?tab=ads#_=_).


                        Google Analytics. We use Google Analytics, a web analytics service provided by
                      Google, Inc. (“Google”) to collect certain information relating to your use of our
                      website. Google Analytics uses cookies, to help our website analyze how users use
                      our website. You can find out more about how Google uses data by visiting “How
                      Google Uses Data When You Use Our Partners’ Site or Apps” located at

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                      www.google.com/policies/privacy/partners/
                      (http://www.google.com/policies/privacy/partners/). For more information, please
                      visit Google and pages that describe Google Analytics, such as
                      www.google.com/analytics/learn/privacy.html
                      (http://www.google.com/analytics/learn/privacy.html).

                          Google Ad Services (includes YouTube). Google Ads remarketing service is
                      provided by Google Inc. You can opt-out of Google Ads for Display Advertising and
                      customize the Google Display Network ads by visiting the Google Ads Settings page,
                      http://www.google.com/settings/ads (http://www.google.com/settings/ads).
                      Google also recommends installing the Google Ads Opt-out Browser Add-on
                      (https://tools.google.com/dlpage/gaoptout
                      (https://tools.google.com/dlpage/gaoptout)) for your web browser. Google Ads
                      Opt-out Browser Add-on provides visitors with the ability to prevent their data
                      from being collected and used by Google Analytics. For more information on the
                      privacy practices of Google, please visit the Google Privacy Terms web page:
                      https://policies.google.com/privacy?hl=en (https://policies.google.com/privacy?
                      hl=en).


                        Impact Radius. We use Impact, a web analytics and advertising service, on our
                      website. With its help, we can keep track of what users do after they see or click
                      on an Impact advertisement and keep track of users who access our website or
                      advertisements from different devices. Any personally identifiable information
                      remains hashed (i.e., a process by which data passes through a formula and is
                      converted into a string of characters so as to encrypt the original data) and data is
                      not associated with individuals. For more information, please refer to:
                      https://impact.com/privacy-policy/ (https://impact.com/privacy-policy/).


                          TikTok. We use TikTok, a web analytics and advertising service, on our website.
                      TikTok uses user information to improve, support and administer its platform, to
                      allow advertisers to use its functionalities, and to fulfill and enforce its Terms of
                      Service. TikTok may also use user information to, among other things, show you
                      suggestions, promote its platform, and customize ad experience. You can find out
                      more about how TikTok collects, uses, and shares user information at
                      https://www.tiktok.com/legal/page/us/privacy-policy/en
                      (https://www.tiktok.com/legal/page/us/privacy-policy/en).

                        Snapchat. We use Snapchat, a web analytics and advertising service, on our
                      website. With its help, we can keep track of what users do after they see or click
                      on a Snapchat advertisement, keep track of users who access our website or

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                      advertisements from different devices, and better provide advertisements to our
                      target audiences. The data from Snapchat is also saved and processed by
                      Snapchat and can be connected back to your Snapchat account. For more
                      information please visit: https://values.snap.com/privacy/privacy-policy
                      (https://values.snap.com/privacy/privacy-policy).

                          Yotpo. We leverage Yotpo for various marketing initiatives such as reviews and
                      visual user-generated content , loyalty and referrals, SMS marketing, and email
                      marketing. Yotpo collects user account information (e-mail address and, when
                      applicable, hashed password, platform usage information (connectivity, technical
                      and aggregated usage data, such as user agent, IP addresses, device data (like type,
                      OS, device id, browser version, locale and language settings used), activity logs,
                      session recordings, and the cookies installed or utilized on the user’s device), and
                      direct interactions and communications with Yotpo – (including recordings and
                      transcripts of your calls and emails with us, e.g. for user enablement, support, and
                      training purposes). For more information, please refer to:
                      https://www.yotpo.com/privacy-policy/ (https://www.yotpo.com/privacy-policy/).


                         Other Third Party Tools. We use other third party tools that allow us to track the
                      performance of our Site. These tools provide us with information about errors, app
                      and website performance, and other technical details we may use to improve our
                      Site and/or our Service. For more information related to these third-party
                      analytics providers please review Sections 2 through 4 above.

               8. ADVERTISEMENT


               We may use data about how you browse and shop in order to show you ads for
               Thirty Madison or our advertising partners that are relevant to your interests. We
               may use cookies and other information to provide relevant interest-based
               advertising to you, and ad networks to which we belong may use your browsing
               activity across participating websites to show you interest-based advertisements on
               those websites. We may also share your Personal Information with entities that
               assist us with marketing and advertising. Interest-based ads are ads presented to
               you based on your browsing behavior to provide you with ads more tailored to your
               interests. These interest-based ads may be presented to you while you are browsing
               our Site or third-party sites not owned by Thirty Madison. Where permitted by
               applicable law, we may also receive Personal Information about you from third party
               sources (e.g., lead generators) to determine whether a Thirty Madison product or
               service is right for you and to send promotional emails to customers and
               prospective customers. Currently, our Site does not recognize if your browser

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               sends a “do not track” signal or similar mechanism to indicate you do not wish to be
               tracked or receive interest-based ads. If you would like more information about
               these       practices,      please    click,    https://optout.aboutads.info/#!/
               (https://optout.aboutads.info/#!/)


               9. CHILDREN’S PRIVACY

               If you are under the age of 18, please do not attempt to register with us at this Site,
               engage our Service, or provide any personal information about yourself to us. If we
               learn that we have collected personal information from someone under 18, we will
               promptly delete that information. If you believe we have collected personal
               information from someone under the age of 18, please contact us at:

                         Cove: Phone (877) 456-2683; Email care@withcove.com
                      (mailto:care@withcove.com)
                         Keeps: Phone (833) 745-3377; Email help@keeps.com (mailto:help@keeps.com)
                         Facet: Phone (855) 658-8855; Email help@facetcare.com
                      (mailto:help@facetcare.com)


               10. SPECIAL NOTE TO CALIFORNIA RESIDENTS

               In compliance with California law, we provide California residents with certain
               information and access upon request (“Consumer Request”). If you are a resident of
               California, the California Consumer Privacy Act (“CCPA”) provides you with
               additional rights regarding your Personal Information. This section describes the
               Personal Information we collect about you, how we use and disclose it, and how you
               can exercise your privacy rights under the CCPA.

               Your privacy rights under the CCPA do not apply to all information that we might
               collect, use, or disclose. For example, the CCPA does not apply to PHI governed by
               the Health Insurance Portability and Accountability Act (“HIPAA”), “medical
               information” governed by the California Confidentiality of Medical Information Act
               (“CMIA”), or other patient information we maintain in the same manner as PHI or
               “medical information.” The CCPA also excludes other categories of information.
               When we collect, use, or disclose information not covered by the CCPA, we do so
               as described in this Policy (excluding this Section) and applicable Notice of Privacy
               Practices. If you would like to learn more about how we collect, process, or disclose
               your information that is not covered by the CCPA, or to exercise the rights that may
               be available to you under HIPAA and other laws, please review this Policy (excluding
               this Section) and applicable Notice of Privacy Practices.

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               For your Personal Information covered by the CCPA, your rights are outlined below,
               including how California residents can request the information and what you can
               receive. If you would like to submit a Consumer Request related to the CCPA, you
               or your authorized agent can contact us at:


                         Cove: Phone (877) 456-2683; Email care@withcove.com
                      (mailto:care@withcove.com)
                         Keeps: Phone (833) 745-3377; Email help@keeps.com (mailto:help@keeps.com)
                         Facet: Phone (855) 658-8855; Email help@facetcare.com
                      (mailto:help@facetcare.com)

               If you choose to submit a Consumer Request, you must provide us with enough
               information in your request to identify you. Thirty Madison will only use the
               information you provide to respond to your request. Thirty Madison will not be able
               to disclose information if it cannot verify that the person making the Consumer
               Request is the person about whom we collected information, or someone
               authorized to act on such person’s behalf. “Personal Information” means
               information that identifies, relates to, describes, is capable of being associated with,
               or could reasonably be linked, directly or indirectly, with a particular consumer or
               household. “Personal Information” does not include publicly available information.

               Request to Access. You may submit a Consumer Request to obtain a copy of or
               access to the Personal Information that Thirty Madison has collected on you. You
               also may designate an authorized agent to make a request for you. To use
               authorized agent, you or your authorized agent must: submit proof that the
               authorized agent is registered with the California Secretary of State and that you
               have authorized be able to act on your behalf, submit evidence that you have
               provided the authorized agent with power of attorney pursuant to the California
               Probate Code; or provide the authorized agent written and signed permission to
               act on your behalf, verify your identity with us, and directly confirm with us that you
               have provided the authorized agent permission to submit the request. We may deny
               a request from an authorized agent who does not submit sufficient proof to act on
               your behalf.


               Request to Correct Inaccurate Personal Information. You may submit a Consumer
               Request to correct inaccurate personal information. Thirty Madison will use
               commercially reasonable efforts to comply with such requests and correct
               inaccurate Personal Information.




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               Request to Know. You may submit a Consumer Request to receive information
               about Thirty Madison’s Personal Information collection practices. You may request
               information on: the categories of Personal information Thirty Madison has collected
               about you; the categories of data collection sources; Thirty Madison’s business or
               commercial purpose for collecting, using, or selling that Personal Information; the
               categories of Personal Information that Thirty Madison has sold or shared; the
               categories of third parties with whom Thirty Madison shares Personal Information, if
               any; and the specific pieces of Personal information we collected about you. Thirty
               Madison is not required to retain any information about you if it is only used for a
               one-time transaction and would not be maintained in the ordinary course of
               business. Thirty Madison is also not required to reidentify Personal Information if it
               is not stored in that manner already, nor is it required to provide Personal
               Information to you more than twice in a twelve-month period. If you would like to
               know if the Thirty Madison has disclosed information about you to specific third
               parties, you may receive information about the categories of Personal Information
               that we disclosed to third parties for their direct marketing purposes by contacting
               us at:

                          Cove: Phone (877) 456-2683; Email care@withcove.com
                      (mailto:care@withcove.com)
                         Keeps: Phone (833) 745-3377; Email help@keeps.com (mailto:help@keeps.com)
                         Facet: Phone (855) 658-8855; Email help@facetcare.com
                      (mailto:help@facetcare.com)


               You may receive the names and addresses of those third parties, and you may
               request this information for the year prior to your request. Note that these
               particular requests may only be made once per calendar year. Additionally, please
               be aware that only sharing activities covered by California law will be included in
               our response to your request.


               Request to Delete. You may request that Thirty Madison delete your Personal
               Information. Subject to certain exceptions set out below, upon receipt of a
               verifiable Consumer Request we will delete your Personal Information from our
               records and direct any service providers to do the same. We will also notify all third
               parties with whom Thirty Madison has shared your Personal Information of your
               request to delete your Personal Information. Please note that we may not delete
               your Personal Information if it is necessary to: complete the transaction for which
               the personal information was collected; provide a good or service requested by
               you, or reasonably anticipated within the context of our ongoing business
               relationship with you, or otherwise perform a contract between you and us; detect

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               security incidents, protect against malicious, deceptive activity, and take all
               necessary and appropriate steps to mitigate current and future risk; debug and
               repair internal information technology as necessary; undertake internal research for
               technological development and demonstration; exercise free speech, ensure the
               right of another consumer to exercise his/her/their right of free speech, or
               exercise another right provided for by law; comply with the California Electronic
               Communications Privacy Act; engage in public or peer-reviewed scientific,
               historical, or statistical research in the public interest that adheres to all other
               applicable ethics and privacy laws, when our deletion of the information is likely to
               render impossible or seriously impair the achievement of such research, provided
               we have obtained your informed consent; enable solely internal uses that are
               reasonably aligned with your expectations based on your relationship with us;
               comply with an existing legal obligation; or otherwise use your Personal Information,
               internally, in a lawful manner that is compatible with the context in which you
               provided the information.

               Right to Opt-Out. You have the right to opt-out of the sale of your Personal
               Information. We do not sell your personal information for money, but we use
               cookies and similar technologies that may result in your Personal Information being
               shared with third-parties in a manner that could be construed as a sale under the
               CCPA. Please see the sections titled “Cookies and Other Technologies” and
               “Advertisement” for more information. Additionally, some of our vendors may use
               your data in a way that could be construed as a sale of data under the CCPA, for
               example by using machine learning on identity documents to improve an identity
               verification platform as a whole or for purposes of cross-context behavioral
               advertising. To opt out of the sale of data, click “Do Not Sell My Personal
               Information” on the Thirty Madison homepage or mobile application, click here
               (https://patient.thirtymadison.com/dashboard/legals/ccpa), or contact us at:

                         Cove: Phone (877) 456-2683; Email care@withcove.com
                      (mailto:care@withcove.com)
                         Keeps: Phone (833) 745-3377; Email help@keeps.com (mailto:help@keeps.com)
                         Facet: Phone (855) 658-8855; Email help@facetcare.com
                      (mailto:help@facetcare.com)

               Thirty Madison may not, and will not: treat you differently because of your
               Consumer Request or Opt-Out activity; deny goods or services to you; charge
               different rates for goods or services; provide a different level of quality of goods or
               services; or suggest any of the preceding will occur. However, we can and may
               charge you a different rate, or provide a different level of quality, if the difference is

https://www.keeps.com/legal/privacy                                                                         12/16
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               reasonably related to the value provided by your Personal Information. Further,
               some Service functionality and features may change or become unavailable upon
               deletion or restriction on use of your Personal Information.



               11. SPECIAL NOTICE FOR NEVADA RESIDENTS

               Thirty Madison does not sell, rent, or lease your Personal Information to third
               parties. However, if you are a resident of Nevada and would like to submit a request
               not to sell your personally identifiable information, you may do so by contacting us
               at:

                         Cove: Phone (877) 456-2683; Email care@withcove.com
                      (mailto:care@withcove.com)
                         Keeps: Phone (833) 745-3377; Email help@keeps.com (mailto:help@keeps.com)
                         Facet: Phone (855) 658-8855; Email help@facetcare.com
                      (mailto:help@facetcare.com)

               12. LINKED SITES

               The Site may contain links to third party owned or operated websites, including,
               without limitation, social media websites (each a “Linked Site”), as a convenient
               method of accessing information that may be useful or of interest to you. This
               Policy and the practices that we follow under this Policy do not apply to Linked
               Sites. We are not responsible for the content, accuracy, or opinions expressed on
               any Linked Site or for the privacy practices or security standards used by third
               parties on such Linked Sites. These Linked Sites have separate privacy and data
               collection practices, and we have no responsibility or liability relating to them.
               Accordingly, if you use Linked Sites through our Site, to login to our Site, or to share
               information about your experience on our Site with others, these Linked Sites may
               be able to collect information about you, including information about your activity
               on our Site. In accordance with their own privacy policies, the Linked Sites may
               further notify your social media connections about your use of our Site. You
               understand and agree that by clicking on a link to a Linked Site or using a Linked
               Site as described above, this Policy, as stated on the Site, is no longer in effect
               because you have either left our Site or used a Linked Site to interact with our Site.


               13. USER CONTENT




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               Some features of our Service may now or in the future allow you to provide
               content, such as written comments or reviews, to be published or displayed on
               public areas of the Site (“User Content”). Be careful about giving out information in
               public areas of the Site. The information you share in public areas may be read,
               collected, or used by any user of the Site. We cannot control the actions of other
               users of the Site with whom you may choose to share your User Content.

               14. CONSENT TO PROCESSING OF PERSONAL DATA IN UNITED STATES

               This Site is intended for use only by residents of the United States (“U.S.”) . If you
               are a citizen of the European Economic Area (“E.E.A.”) or other jurisdiction outside
               of the U.S., please note that in order to provide our Site and Service to you, we may
               send and store your personal information (also commonly referred to as personal
               data) outside of the E.E.A., including the U.S. Accordingly, your personal information
               may be transferred outside of the country where you reside or are located,
               including to countries that may not or do not provide the same level of protection
               for your personal information. By using and accessing our Site, users who reside or
               are located in countries outside of the U.S. agree and consent to the transfer to
               and processing of personal information on servers located outside of the country
               where they reside, including to the U.S., and that the protection of such information
               may be different than required under the laws of their residence or location.

               15. CHANGES TO OUR PRIVACY POLICY

               While this Policy may change from time to time, Thirty Madison will enforce and
               comply with all applicable laws with respect to this Policy, any future versions of this
               Policy, our Service, our rights, and our obligations to you. We will post any privacy
               policy changes to our Site. The date this Policy was last modified is identified at the
               top of the page. You are responsible for periodically monitoring and reviewing any
               updates to this Policy. Your continued use of our Site after such amendments will
               be deemed your acknowledgement of these changes to this Policy.

               16. QUESTIONS AND HOW TO CONTACT US


               If you have any questions, concerns, complaints, or suggestions regarding this
               Policy, please contact us:

                         Cove: Phone (877) 456-2683; Email care@withcove.com
                      (mailto:care@withcove.com)
                         Keeps: Phone (833) 745-3377; Email help@keeps.com (mailto:help@keeps.com)

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                          Facet: Phone (855) 658-8855; Email help@facetcare.com
                       (mailto:help@facetcare.com)


               Or write us by U.S. postal mail at the following address:

                          Thirty Madison, Inc.
                          82 Nassau St #61392
                          New York, NY 10038




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        Your Email                                                                                                                       SUBMIT




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                                           Facet (https://facetcare.com/) Nurx (https://nurx.com/)



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